                     Exhibit A




Case 3:18-cv-00319-FDW-DCK Document 1-1 Filed 06/20/18 Page 1 of 3
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                                                                                                                             District Court Divislon


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  窃傍 ぷ    ル 粒″                                                                              ORDER              NO‐ CONTACT
                                                                 Yメ 3 ハII:ll[I      FOR STALKING
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             ,                                          1li:￨:∴              OR NONCONSENSUAL SEXUAL
                                     VERSUS               fil lii
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 NoTE To PLAINTIFF: Do not              use this form   il                                                                       io E-
                                                             the retationship between you or the person on whose behalf you are tiling thi,
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                                opposite sex who are in a dating retalionship or have been in a dating relationship, tn
                                                                                                                         thal situation use ,,Complaint And Motion
                                For Domestic Violence Proteclive oder," A)C-CV-303. Check only the boxes below
                                                                                                                        that apply and till in btanks. Additional
                                sheets mav be ettached.
     r. Srne      plaintiff   resides              oefenoant        resides
                                          $,,e                                 ffrne       unlawful conduct   occurred    in this county.
     z, B        I am a victim     of unra'wful concruct that occurred in North carorina.
      b' n       tne plaintiff is a minor or incompetent adult who
                                                                 is a victim of unlawful conduct that occurred in North Carolina, and I am a
                competent adult who resides in North Carolina and am filing this complaint on the victim,s behalf.
fi' f .   fne defendant was 16 years of age or older at the time of the unlawful conduct.
I a'      me defendant has committed nonconsensual sexual conduct against the plaintiff in that: (6lve specrrc dales and describe
                                                                                                                                   in detail
          what happened.)




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 AOC‐ CV‐ 520,Rev 8/14            『                                                                                                           `″
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                                                                                                                             oWing Relief:
Because OF These Acts Of unlawFul Conduct,The P:aintiff Requests That The Court Grant The Fo‖
      (Check only boxes that aPPlY.)
メ図図



                                                                                         year')
         1. A permanent no-contact order. (A permanent order cannot last longer than one
      2. A temporary no-contact order.    (A temporary order cannot last longer than ten days')
                                                                                                    plaintiff will suffer immediate injury, loss,
         3. The temporary order to be issued ex parte (without notice to the defendant) because the
              or damage before the defendant can be heard in lhal (explain)




     '        (lf you checked Block 3 above, chec( a. or b' below')
                                                                                                                  and give the following reasons
              D( u       f ce(ify that I have made the following efforts, if any, to give notice to the defendant
                         supporting why notice should not be required:
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                                                                           (explain)
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                                                                                         intended to prevent would likely
                                                                                             harm that the remedy is
              D     u.   r certify that there is good cause to grant the remedy because the
                                                                                               relief in that: (Give specific reasons why harm would occur if
                         occur if the defendant were given any prior notice oi the request for
                         prior notice were given to defendant')
 昏 ，颯区図Ｋ
          ４




                                                                                                   the plaintiff'
                 To order the defendant not to visit, assault, molest, or otherwise interfere with
                 To order the defendant to stop stalking the plaintiff'
          ａ




                 To order the defendant to cease harassment of the plaintiff
          ７． ＆




                 To order the defendant not to abuse or injure the plaintiff'
                                                                                                  or electronic means, the plaintiff'
                 To order the defendant not to contact, by telephone, written communication,
          ９．




                                                                                present at the plaintiffls residence, school, place of employment, or
                 To order the defendant to refrain from entering or remaining

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 I        t0. Otner: (specify)




  l,the undersigned,being nrst duly sworn,say thatl am the plainlffin this acuy:thatl have read the Complaint and Mo10nithatthe
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  matters and things a‖ eged in the Complaint and Motion are true except as to those things a‖
  those I believe them to be true and accurate

  SWORN/                                         SUBSCRIBED TO BEFORE ME                                      ο
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                      County Where Notarized




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